
Fletcher, J.
There really is no question in this case which will bear an argument. The contract was made while the statute of 1832 was in force, which gave to the corporation, in express terms, the power to compound, or make agreements in regard to, these tolls, in all cases in which the corporation might deem it expedient for their own benefit and the public convenience. There can, therefore, be no valid objection to the power of the corporation to make the contract, and, in fact, it is understood that all objection to the power to make the contract was ultimately waived on the part of the corporation.
The only remaining question is, whether the contract embraces the case of a stage running between Methuen and Lowell in the manner set out in the agreed statement. Upon this question there can be no doubt, as stages used in the manner in which these were used are clearly exempted by the terms of the contract from all obligation to pay tolls.

Judgment for the defendant.

